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 9      and AGE CRYPTO GP LLC (erroneously
10      sued as AGE CRYPTO LLC)

11                                UNITED STATES DISTRICT COURT
12                          SOUTHERN DISTRICT OF CALIFORNIA
13      CHRISTIAN SARCUNI, PEDRO                   Case No.: 3:22-cv-00618-LAB-DEB
        CUNHA, ALEXANDER LLOYD,
14      SKLIAR VIKTOR, MARC SIMON,
        PILICI RUSTAM, DANIEL LU,                  MEMORANDUM OF POINTS AND
15
        CLÉMENT OMÉTEK, EDISON HO,                 AUTHORITIES IN SUPPORT OF
16      KIRO ALEKSANDROV, JONAS                    DEFENDANTS HASHED
        WERNECKE, PAOLO LEITE, MIRAS               INTERNATIONAL LLC AND AGE
17
        ISSAKHOV, and DANIELE PENNA, on            CRYPTO GP LLC’S MOTION TO
18                                                 DISMISS THE FIRST AMENDED
        behalf of themselves and other similarly
19      situated,                                  COMPLAINT

20                  Plaintiffs,                    Hearing
21                                                 Date: October 11, 2022
              vs.                                  Time: 11:15 a.m.
22      bZx DAO, KYLE KISTNER, TOM                 Courtroom: 14A
23      BEAN, HASHED INTERNATIONAL
        LLC, AGE CRYPTO LLC, OOKI DAO,   Complaint Served:         05/12/2022
24      LEVERAGEBOX LLC, and bZeroX LLC, Current Response Date:    07/06/2022
25                                       New Response Date:        07/29/2022
                  Defendants.
26                                       Judge: Honorable Larry Alan Burns
27                                       Action Filed: May 2, 2022

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       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS THE FIRST
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 1          Hashed International LLC (“HASHED”) and AGE Crypto GP LLC (“AGE”)
 2    respectfully submit this memorandum of law in support of their motion to dismiss, with
 3    prejudice, the First Amended Complaint (“FAC”).
 4                                PRELIMINARY STATEMENT
 5          This action arose from a hack of the bZx protocol (the “Protocol”) resulting in the
 6    theft of the token cryptocurrency (the “Tokens”) from token holders as a result of a hack.
 7    FAC ⁋ 51. Now Plaintiffs, a select few of those allegedly harmed token holders, bring
 8    this action against an alleged select handful of other harmed token holders
 9          Plaintiffs do not, and cannot, advance a sufficiently pled complaint to support their
10    confusing and tortured theory of negligence liability against HASHED and AGE. The
11    most fatal defect in the FAC is that HASHED and AGE were not token holders in the
12    Protocol. HASHED and AGE were frivolously sued by Plaintiffs in this action. Had
13    Plaintiffs performed the investigation, required by Fed. R. Civ. P. 11, before filing this
14    meritless lawsuit, Plaintiffs would have learned that a South Korean natural citizen (not
15    HASHED) and a Cayman Islands entity (not AGE) invested in the Tokens. If this lawsuit
16    had merit (it does not), this foreign natural citizen and this Cayman Islands entity would
17    identify as putative Plaintiffs, not Defendants. Simply put, Plaintiffs have brought an
18    action against the wrong defendants.
19          Next, the FAC’s poorly pled allegations fail to allege the elements of the
20    negligence claim against HASHED and AGE. The FAC fails to properly plead the legal
21    duty, the breach and the causation proximately caused by HASHED and AGE. Indeed,
22    noticeably absent from the FAC are facts sufficiently alleging that HASHED and AGE
23    were responsible for the cybersecurity for the Protocol or that HASHED and AGE
24    breached some legal duty to safeguard the Protocol from a criminal third party hack. If as
25    Plaintiffs frivolously allege that HASHED and AGE were token holders themselves (they
26    are not), wouldn’t they be part of the putative Plaintiffs’ group?
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 1                                       RELEVANT FACTS
 2          The Tokens used the Protocol, which like almost all “Decentralized Finance”
 3    (“DeFi”) protocols, is governed as a “Decentralized Autonomous Organization”
 4    (“DAO”). FAC ⁋ 41. DAOs, such as the one for bZx, have no formal corporate structure.
 5    Id. Rather, all Token holders have governance rights. Id. Plaintiffs, among others, were
 6    holders of BZRX tokens. Id. See also FAC ⁋⁋ 1, 3-21.
 7          On November 5, 2021 the Protocol was allegedly hacked and tokens were stolen.
 8    FAC ⁋ ⁋ 52- 5.
 9          HASHED merely employs United States based consultants who provide research
10    and market analysis roles for Hashed Inc., a South Korean corporation. Hashed Inc. is in
11    the type of business of professional scientific and technical activities and managing
12    consultancy for technical related activities. HASHED has never made an investment into
13    bZeroX, LLC or any of the other named defendants. HASHED did not invest in the
14    Token and has never been a token holder in the Protocol. Instead, a South Korean natural
15    citizen invested in the Tokens. If this lawsuit had merit (it does not), this natural citizen
16    would be a Plaintiff not a Defendant. HASHED was frivolously sued by the Plaintiffs.
17          AGE is a Nevada limited liability company that acts as an investment advisor to
18    one or more private investment funds. AGE has never made an investment into bZeroX,
19    LLC or any of the other named defendants. AGE was frivolously sued by the Plaintiffs.
20          On July 12, 2020, AGE Global Fund, LLC, the above referenced Cayman Island
21    entity, entered into a Simple Agreement For Future Tokens (“SAFT”) agreement with
22    bZeroX, LLC to purchase Tokens. The SAFT offering states that “token offering by the
23    company … does not confer any ownership rights, stake, share, intellectual property, or
24    governance rights over the company.” The SAFT was issued by bZeroX, LLC, a
25    Delaware limited liability company, and has no provisions agreeing to the formation of a
26    DAO or of a general partnership. Neither AGE, AGE Global Fund, LLC, nor any of its
27    affiliates ever participated in the development, testing, marketing, or operation of the
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 1    Protocol. Nonparty AGE Global Fund, LLC’s sole role was as a passive investor in the
 2    Token.
 3             Following the execution of the SAFT, AGE was never asked by bZeroX, LLC to
 4    form a DAO or a general partnership and AGE never agreed to do so.
 5
 6                                             ARGUMENT
 7             Plaintiffs failed to comply with Fed. R. Civ. P. 12(b)(4) with respect to service of
 8    process in that it fails to correctly name the corporate entities whom they seek to bring an
 9    action.
10             The FAC’s 79 paragraphs also fail to sufficiently plead a claim for relief against
11    HASHED and AGE for any of the requirements of standing or a negligence cause of
12    action. Their bare allegations are nothing more than legal arguments without any factual
13    support, stopping far short of the line of plausibility of relief required. And even viewed
14    in a light most favorable to Plaintiff, the general and conclusory allegations fall woefully
15    short.
16             First, HASHED and AGE were not token holders. Additionally, the very premise
17    of Plaintiffs’ case is logically flawed. This select handful of those injured cherry-picked
18    defendants against whom they allege that, as other token holders, owed them a duty
19    which they breach and caused their damages. However, ALL token holders stand in the
20    same position. And therefore, following their reasoning, all token holders are responsible
21    to each other, including Plaintiffs to other token holders.
22              I.   Applicable Law
23                   a. Fed. R. Civ. P. 11
24             “Federal Rule of Civil Procedure 11 provides for the imposition of sanctions when
25    a filing is frivolous, legally unreasonable, or without factual foundation, or is brought for
26    an improper purpose. Frivolous filings are those that are both baseless and made without
27    a reasonable and competent inquiry." Estate of Blue v. Cty. of L.A., 120 F.3d 982, 985
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 1    (9th Cir. 1997); See also Moore's Federal Practice - Civil § 11.11 (2022)
 2                        b. Fed. R. Civ. P. 12(b)(4)
 3               Fed. R. Civ. P. 12(b)(4) permits a court to dismiss an action for insufficiency of
 4    process. Id. R. 8(a)(2). Fed. R. Civ. P. 4 sets out the requirements for summons and
 5    service of process. A summons must “name… the parties” and “be directed to the
 6    defendant”. The Court lacks jurisdiction over defendants who have not been properly
 7    served. SEC v. Ross, 504 F.3d 1130, 1138-39 (9th Cir. 2007). When the validity of
 8    service is contested, the burden is on the plaintiff to prove that service was valid under
 9    Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004).
10                        c. Fed. R. Civ. P. 12(b)(6)
11               “A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of a plaintiff's
12    complaint and allows a court to dismiss a complaint upon a finding that the plaintiff has
13    failed to state a claim upon which relief may be granted.” Lopez v. Wells Fargo Bank,
14    Nat’l Ass’n, No. 16-cv-0811-AJB-DHB, 2017 U.S. Dist. LEXIS 52527, at *6 (S.D. Cal.
15    Apr. 5, 2017). “We are not bound to accept as true a legal conclusion couched as a factual
16    allegation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)1. Nor is Plaintiff entitled to relief
17    “where the well-pleaded facts do not permit the court to infer more than the mere
18    possibility of misconduct, the complaint has alleged--but it has not "show[n]"--"that the
19    pleader is entitled to relief" Fed. R. Civ. P. 8(a)(2). Plaintiff must plead “more than a
20    sheer possibility that a defendant has acted unlawfully. Where a complaint pleads facts
21    that are ‘merely consistent with’ a defendant's liability, it ‘stops short of the line between
22    possibility and plausibility of 'entitlement to relief.'" Ashcroft, 556 U.S. at 557. This
23    includes, “[t]hreadbare recitals of the elements of a cause of action, supported by mere
24    conclusory statements”. Id. at 1949. See also Reynoso v. City of L.A., 469 F. App'x 563
25    (9th Cir. 2012).
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          Internal citations and quotations omitted.
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          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS THE FIRST
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 1           II.   Joinder
 2          Defendants Kyle Kistner, Tom Bean, Leveragebox LLC and bZeroX LLC’s
 3    Memorandum of Law (Docket Entry 27-1) sets out the applicable facts and law. Plong v.
 4    BM Realestate Servs., No. 2:20-cv-06999-JWH-AGRx, 2022 U.S. Dist. LEXIS 68864, at
 5    ** 2-3, 5 (C.D. Cal. Apr. 12, 2022) (granting a “Joinder Motion” incorporating
 6    arguments of other defendants). With respect for the Court’s time and brevity, to the
 7    extent it has been covered sufficiently HASHED and AGE will add rather than repeat.
 8          III.   HASHED and AGE Should Be Dismissed from This Action Pursuant to
 9                 Fed. R. Civ. P. 12(b)(4)
10          Where a plaintiff incorrectly names a defendant, that defendant is entitled to
11    dismissal. In Behroozi v. New Albertsons, Inc. the court granted defendant’s motion to
12    dismiss for insufficiency of service where the summons did not correctly identify the
13    party name and had been directed towards another entity with whom it had business
14    dealings. Behroozi v. New Albertsons, Inc., No. 2:11-cv-00579-JCM-NJK, 2014 U.S.
15    Dist. LEXIS 150526, at *6-7 (D. Nev. Oct. 22, 2014). See also Savage & Assocs., P.C. v.
16    Williams Commc’ns (In re Teligent Servs.), 372 B.R. 594 (S.D.N.Y. 2007) (affirming
17    bankruptcy court’s dismissal of for lack of proper service where the bankruptcy estate
18    representative named the wrong creditor as defendant).
19          Plaintiffs sued AGE and HASHED without complying with FRCP 11. This is a
20    fatal defect because a reasonable inquiry would have revealed that AGE and HASHED
21    are not, and were not, token holders in the Protocol.
22          Because Plaintiff has failed to comply with the requirements of Fed. R. Civ. P. 4
23    by incorrectly naming HASHED and AGE, this action should be dismissed.
24          IV.    Standing
25          “[S]tanding is not dispensed in gross,” TransUnion L.L.C. v. Ramirez, 141 S. Ct.
26    2190, 2208 (2021), and a plaintiff must establish standing with respect to each defendant,
27    Mahon v. Ticor Title Ins. Co., 683 F.3d 59, 65-66 (2d Cir. 2012). To establish the
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 1    traceability required for standing, “the plaintiff must demonstrate a causal nexus between
 2    the defendant’s conduct and the injury,” Rothstein v. UBS AG, 708 F.3d 82, 91 (2d Cir.
 3    2013), “ensur[ing] that the injury alleged is attributable to the defendant.” Heldman v.
 4    Sobol, 962 F.2d 148, 156 (2d Cir. 1992).
 5          Plaintiffs’ FAC does not plead a causal nexus between HASHED and AGE alleged
 6    conduct and Plaintiff’s alleged injury. Plaintiff does not differentiate between
 7    Defendants, and particularly HASHED and AGE. They plead that Defendants, in the
 8    collective including HASHED and AGE, are liable as “member[s] of the bZx DAO and
 9    general partnership”, FAC ⁋⁋ 24-5, and as “investor[s]” who allegedly “participated in
10    decision making”. FAC ⁋⁋ 74-5. HASHED was alleged to have publicly supported bZx
11    and had witnessed them solve a security issue. FAC ⁋ 74.
12          Plaintiffs’ FAC does not explain how HASHED and AGE are different than any
13    other Token holder, including themselves. Or ‘why’ ‘when’ or ‘how’ HASHED and AGE
14    took actions (or failed to take actions) that resulted in the hack. Plaintiffs have failed to
15    “proffer facts establishing that all links in the causal chain are satisfied.” Williams ex rel.
16    United Guardianship Servs. v. Shah, No. 12-cv-3953, 2014 WL 1311154, at *12
17    (E.D.N.Y. Mar. 30, 2014). Indeed, Plaintiffs failed to plead any links in the causal chain
18    that would render HASHED and AGE liable.
19           V.    HASHED and AGE Should Be Dismissed from This Action Pursuant to
20                 Fed. R. Civ. P. 12(b)(6) Because Plaintiffs Fail to Adequately Plead the
21                 Necessary Elements of a Negligence Claim
22          For a negligence claim a plaintiff must plead four elements: duty, breach,
23    causation, and damages. Ghlachi v. U.S. Bank, N.A., No. CV 14-6619 PSG (CWx), 2015
24    U.S. Dist. LEXIS 191828, at *22 (C.D. Cal. Apr. 29, 2015). Plaintiffs have pled only the
25    most threadbare of three of the four elements, generally for the same reason: Plaintiffs,
26    like all other token holders (but not HASHED and AGE which were not token holders)
27    were victimized by the hack stand in the same shoes. Thus, their claim for negligence
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 1    should be dismissed.
 2           “The threshold determination in a negligence action is whether a defendant owes a
 3    duty of care to the plaintiff.” Pers. Representative of the Estate of C. J. P. v. Washington,
 4    913 F.3d 831, 839 (9th Cir. 2019). The existence of a duty is “determined as a matter of
 5    law by the court." Ghlachi, 2015 U.S. Dist. LEXIS 191828, at *24. The totality of
 6    Plaintiffs’ complaint fails to allege a legal duty owed by AGE and HASHED to the
 7    Plaintiffs that would give rise to an actionable negligence claim. Without the legal duty,
 8    a negligence claim is deemed fatal.
 9          “To be actionable, the duty must be one owed to the injured plaintiff, and not one
10    owed to the public in general.” Pers. Representative of the Estate of C. J. P., 913 F.3d
11    831 at 839. There is generally no legal duty to prevent a third person from intentionally
12    harming another, but a duty may arise when a “special relationship” exists. Id.
13          “[C]ourts have consistently refused to impose a duty of care in the context of
14    financial transactions involving fraud and identity theft.” Diaz v. Intuit, Inc., 2018 U.S.
15    Dist. LEXIS 82009, at *15 (holding no special duty owed by the platform through which
16    a victim of identity theft had fraudulent documents submitted in his name). See also
17    Razuki v. Caliber Home Loans, Inc., CASE NO. 17cv1718-LAB (WVG), 2018 WL
18    6018361, at **2-3 (S.D. Cal. Nov. 14, 2018) (dismissing negligence claim arising from
19    data breach in part because plaintiff “could have identified what made Caliber’s security
20    measures unreasonable by comparison to what other companies are doing” – but did not);
21    In re Sony Gaming Networks and Customer Data Security Breach Litigation, 996 F.
22    Supp. 2d 942, 942 (S.D. Cal. 2014) (finding no special relationship owed to plaintiffs
23    harmed by a hack into defendant’s platform).
24          The entire basis for Plaintiff’s allegations of HASHED and AGE's legal duty rests
25    on HASHED and AGE being “member[s] of the bZx DAO and general partnership”,
26    (FAC ⁋⁋ 24-5), and “investor[s] in the Protocol”. FAC ⁋⁋ 74-5. This generalized
27    statement applicable to all token holders is insufficient. Moreover, there is no special
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 1    duty alleged in the FAC. As an action involving a hack of cryptocurrency, is the type of
 2    “…context of financial transction[] involving fraud and identify theft” Diaz was referring
 3    to. Again, all token holders are similarly situated. Simply put, Plaintiffs’ complaint fails
 4    to actionably plead a legal duty was owed to the Plaintiffs by HASHED and AGE.
 5          Plaintiffs’ allegations of breach of a legal duty are also fatally deficient. To
 6    sufficiently allege a breach, Plaintiffs are required to make more than “conclusory
 7    accusations of violations without providing factual support of what actions each
 8    Defendant took.” Lopez v. Wells Fargo Bank, No. 16 Civ. 00811 (AJB) (DHB), 2017 WL
 9    1336764, at *15 (S.D. Cal. Apr. 5, 2017). The totality of Plaintiffs’ complaint fails to
10    sufficiently allege, with factual support, the alleged breach by HASHED and AGE.
11          Finally, Plaintiffs fail to properly plead the causation element of negligence.
12    Nowhere in Plaintiffs’ FAC does it allege, with factual support, the ‘how’ or ‘why’
13    HASHED and AGE caused any of the Plaintiffs’ alleged harm. To survive a motion to
14    dismiss the complaint, Plaintiffs must “demonstrate that the complained-of conduct was
15    the cause-in-fact (or ‘but for’ cause) as well as the proximate cause of her injury.” Avitia
16    v. United States, 24 F. App'x 771, 774 (9th Cir. 2001). By Plaintiffs making the
17    threadbare allegation that HASHED and AGE were “members”, “investors” and
18    “decision makers”, (FAC ⁋⁋ 24-5, 74-5) is a defective pleading. By Plaintiffs making the
19    threadbare allegation that the DAO consisted of token holders having equal rights and
20    with no formal structure (FAC ⁋ 41) is still a defective pleading. There is no alleged
21    connection between HASHED and AGE and the purported cybersecurity failures in the
22    Protocol that contributed to the hack. Thus, Plaintiffs failed to plead causation.
23          In sum, Plaintiffs ‘bare allegations are nothing more than legal arguments without
24    any factual support, stopping far short of the line of plausibility of relief required by
25    Ashcroft. Ashcroft, 556 U.S. at 557, 678. And even viewed in a light most favorable to
26    Plaintiff, the general and conclusory allegations fall woefully short.
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 1                              LEAVE TO AMEND IS FUTILE
 2         The FAC is incurably defective as to HASHED and AGE. Again, HASHED and
 3   AGE were not token holders. Moreover, all token holders were similarly situated.
 4   Therefore, the Court is not required to grant leave to amend. See Eagle Canyon Owners'
 5   Ass'n v. Waste Mgmt., No. 16cv2811-LAB (WVG), 2017 U.S. Dist. LEXIS 109812, at
 6   *12 (S.D. Cal. July 13, 2017) (Burns D.J.) (“Although leave to amend should be liberally
 7   granted, the Court may exercise its discretion to deny the request
 8   where amendment is futile. And any amendment is futile where the amended complaint
 9   would also be subject to dismissal.”).
10         HASHED and AGE were frivolously sued as Defendants because Plaintiffs and
11   their counsel did not properly investigate the factual support before filing the lawsuit. No
12   amendment can cure this defect. Further, even if the correct Defendants were sued and
13   even if duties existed amongst token holders, the elemental defects cannot be cured. There
14   are no additional facts able to sufficiently allege a cause of action for negligence by some
15   token holders against other token holders.
16                                        CONCLUSION
17         For the foregoing reasons, HASHED and AGE respectfully request that the Court
18   grant their motion to dismiss, with prejudice, the FAC.
19
20   Dated: July 29, 2022                            REIF LAW GROUP, P.C.

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22
                                                     Brandon S. Reif
23                                                   Marc S. Ehrlich
24
                                                     Attorneys for Defendants HASHED
25                                                   INTERNATIONAL LLC and AGE
26                                                   CRYPTO GP LLC
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